       Case 08-25435               Doc 21    Filed 01/12/09 Entered 01/15/09 01:47:07    Desc Imaged
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B18J (Official Form 18J) (12/07)

                                       United States Bankruptcy Court
                                               Northern District of Illinois
                                                    Case No. 08−25435
                                                        Chapter 7

In re: Debtors (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade,
and address):
   Kim Lynn Moyal                                 Ronen Moshe Moyal
   2409 N. Evergreen Ave.                         2409 N. Evergreen Ave.
   Arlington Heights, IL 60004                    Arlington Heights, IL 60004
Social Security No.:
   xxx−xx−5712                                    xxx−xx−4627
Employer's Tax I.D. No.:



                                       DISCHARGE OF JOINT DEBTORS

      It appearing that the debtors are entitled to a discharge, IT IS ORDERED: The debtors are
granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).




                                                             FOR THE COURT


Dated: January 12, 2009                                      Kenneth S. Gardner, Clerk
                                                             United States Bankruptcy Court




                     SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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B18J (Official Form 18J) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. A creditor who violates this
order can be required to pay damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged
       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans (in a case filed on or after October 17,
      2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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                          CERTIFICATE OF NOTICE
District/off: 0752-1           User: vbrown                 Page 1 of 2                   Date Rcvd: Jan 12, 2009
Case: 08-25435                 Form ID: b18                 Total Served: 30

The following entities were served by first class mail on Jan 14, 2009.
db           +Kim Lynn Moyal,    2409 N. Evergreen Ave.,    Arlington Heights, IL 60004-2520
jdb          +Ronen Moshe Moyal,    2409 N. Evergreen Ave.,    Arlington Heights, IL 60004-2520
aty          +David P Leibowitz, ESQ,    Leibowitz Law Center,    420 Clayton Street,    Waukegan, IL 60085-4216
tr           +Norman B Newman,    Much Shelist Freed Denenberg,    191 North Wacker Drive Ste 1800,
               Chicago, IL 60606-1631
12640144      Bank of America,    4060 Ogletown St.,   Newark, DE 19713
12640152      Chase Manhattan Mortgage,    P O Box 36520,    Louisville, KY 40233-6520
12640153     +Countrywide Home Loans,    4500 Park Granada,    Calabasas, California 91302-1613
12640155      Dr. Brett Hendon,    161 W. Northwest Hwy.,    Arlington Heights, IL 60004
12640156     +Everhome Mortgage Center,    P.O. Box 2167,    Jacksonville, FL 32232-0004
12640157      FIA Card Services,    P.O.Box 15028,   Wilmington, DE 19850-5028
12640159     +GE Capital - WLI,    POB 740423,   Atlanta, GA 30374-0423
12640160    ++ILLINOIS DEPARTMENT OF REVENUE,    P O BOX 64338,    CHICAGO IL 60664-0338
             (address filed with court: Illinois Department of Revenue,      Bankruptcy Section,    Level 7-425,
               100 W. Randolph Street,    Chicago, IL 6060)
12640164     +Lasalle Bank WLI,     4747 West Irving Park Rd.,    Chicago, IL 60641-2791
12640165     +Lease Finance Group LLC,    233 N, Michigan Ave.,    Suite 1800,    Chicago, IL 60601-5802
12640166     +Mc Carthy, Burgess & Wolff,    26000 Cannon Rd.,    Cleveland, OH 44146-1807
12640168     +Northland Group, Inc.,    PO Box 390905,    Edina, MN 55439-0905
12640169     +Penitech Finnancial Services - WLI,    910 East Hamilton Ave Ste 400,     Campbell CA 95008-6438
12640172     +Thomas *Conrardy,    co Deutsch Levy & Engel,    225 W. Washington Street, Suite 1700,
               Chicago, IL 60606-3482
12640173     +United Milegage Plus,    Cardmember Service,    PO Box 15153,    Wilmington, DE 19886-5153
12640174     +Vedder Price,    222 N. LaSalle St.,   Chicago, IL 60601-1003
The following entities were served by electronic transmission on Jan 13, 2009.
aty          +EDI: BDPLEIBOWITZ.COM Jan 13 2009 01:23:00       David P Leibowitz, ESQ,     Leibowitz Law Center,
               420 Clayton Street,   Waukegan, IL 60085-4216
12640143     +EDI: AMEREXPR.COM Jan 13 2009 01:23:00      American Express,    PO Box 0001,
               Los Angeles, CA 90096-8000
12640149     +EDI: CHASE.COM Jan 13 2009 01:23:00      Bank One,    800 Brooksedge Blvd.,
               Westerville, OH 43081-2822
12640150     +EDI: HFC.COM Jan 13 2009 01:23:00      Beneficial Finance,    PO Box 17574,
               Baltimore, MD 21297-1574
12640151     +EDI: CAPITALONE.COM Jan 13 2009 01:23:00       Capital One Bank,    PO Box 30281,
               Salt Lake City, UT 84130-0281
12640154      EDI: DISCOVER.COM Jan 13 2009 01:23:00      Discover Financial Services,      PO Box 15316,
               Wilmington, DE 19850
12640157      EDI: BANKAMER2.COM Jan 13 2009 01:23:00       FIA Card Services,    P.O.Box 15028,
               Wilmington, DE 19850-5028
12640161      EDI: IRS.COM Jan 13 2009 01:23:00      Internal Revenue Service,
               Centralized Insolvency Operations,    PO Box 21126,    Philadelphia, PA 19114
12640162      EDI: IRS.COM Jan 13 2009 01:23:00      Internal Revenue Service,     Mail Stop 5010 CHI,
               230 S. Dearborn Street,    Chicago, IL 60604
12640167     +E-mail/Text: bankrup@nicor.com                            Nicor,    POB 310,    Aurora, IL 60507-0310
12640170     +EDI: WTRRNBANK.COM Jan 13 2009 01:23:00       Target,   PO Box 673,    Minneapolis, MN 55440-0673
12640175     +EDI: WFNNB.COM Jan 13 2009 01:23:00      Victoria’s Secret,    PO Box 182128,
               Colombus, OH 43218-2128
                                                                                                TOTAL: 12
            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
12640158       Financial Pacific
12640171       Theodore Cappelen
12640176       We’re Lit, Inc.
12640147*      Bank of America,   4060 Ogletown St.,    Newark, DE 19713
12640148*      Bank of America,   4060 Ogletown St.,    Newark, DE 19713
12640145*      Bank of America,   4060 Ogletown St.,    Newark, DE 19713
12640146*      Bank of America,   4060 Ogletown St.,    Newark, DE 19713
12640163*    ++INTERNAL REVENUE SERVICE,    CENTRALIZED INSOLVENCY OPERATIONS,   PO BOX 21126,
                PHILADELPHIA PA 19114-0326
              (address filed with court: Internal Revenue Service,     Mail Stop 5010 CHI,
                230 S. Dearborn Street,    Chicago, IL 60604)
                                                                                               TOTALS: 3, * 5
Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.
Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).
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              ***** BYPASSED RECIPIENTS (continued) *****




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jan 14, 2009                                      Signature:
